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    8                            UNITED STATES DISTRICT COURT 

    9                         SOUTHERN DISTRICT OF CALIFORNIA 

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   11    DREW HILL,                                 CASE NO. 3:12-cv-OI272-WQH-WMC
   12
                             Plaintiff,             ORDER GRANTING JOINT MOTION
   13                                               FOR DISMISSAL OF ACTION WITH
               vs.                                  PREJUDICE
   14
         LEADING EDGE RECOVERY
   15    SOLUTIONS, LLC, an Illinois
         Limited Liability Company,
   16
                             Defendant.
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              Based upon the Joint Motion for Dismissal filed by the parties, and for good cause
   23
   24   appearing, the Court GRANTS the Joint Motion for Dismissal. (ECF No. 20). This action is
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   25   DISMISSED WITH PREJUDICE.            The Court retains jurisdiction over any necessary

   26   enforcement of the settlement agreement until December 5, 2012. IT IS SO ORDERED.


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   27
        DATED:
   28
                                                        UNITED STATES DISTRICT JUDGE

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